                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

                                                  )
TRACEY K. KUEHL, et al.,
                                                  )
                                                  ) Case No. C14-02034-LRR
                      Plaintiffs,                 )
       v.                                         )
                                                    DECLARATION OF KRISTINE BELL
                                                  )
PAMELA SELLNER, et al.,                           )
                                                  )
                                                  )
                       Defendants.
                                                  )
                                                  )
                                                  )

                                     Declaration of Kristine Bell

       I, Kristine Bell, declare that if called as a witness in this action I would competently testify

of my own personal knowledge as follows:

       1.      I am over the age of 18, of sound mind, and have freely given the testimony set

forth in this Declaration. I file this Declaration on behalf of myself as an individual plaintiff and

as a member of the Animal Legal Defense Fund. I am fifty-seven years old, and I have lived in

Iowa my entire life. I grew up on a farm in central Iowa, where there were always cats, dogs,

horses, cows, hogs, and other farmed animals. I have loved animals since my childhood on the

farm. I used to raise and show quarter horses, which kept my very busy throughout my childhood

and young adult life. I have lived in Ames, Iowa since 1997 where I work at Iowa State

University as an administrative assistant for the Department of Agricultural and Biosystems

Engineering. In my free time, I volunteer with a number of organizations that promote rescuing

companion animals, as well as an emergency response organization call Red Rover Response.

Through Red Rover Response, I assist the Humane Society of the United States with placements

of companion animals during disasters, like Hurricane Katrina. I also serve as an officer for the



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Iowa Coalition for Pet Adoptions, which is non-profit organization I started with Lisa Kuehl and

Nancy Harvey. Together, we promote education and awareness of rescue dogs and cats. We also

fundraise for local shelters and rescues. Finally, I support the Animal Rescue League of Iowa,

which is Iowa’s largest animal shelter, and I volunteer for AHeinz Rescue and Transport of

DeSoto, Iowa and Forever Home Dog Rescue in Des Moines, Iowa.

       2.      At some point in April 2012, Lisa Kuehl showed me aerial photographs of the

Cricket Hollow Zoo in Manchester, Iowa. She wanted to know whether her initial concerns about

the Zoo were warranted. Apparently, she had taken the photographs from an airplane when she

and her husband flew over the Zoo earlier that month. I have visited a number of zoos in my

lifetime and had a hard time reconciling my experiences with those zoos and the photographs

Lisa showed me. The Zoo appeared to be located on the same property as a residence and dairy

farm. The animals were located in wire enclosures without roofs, so I could see several animals

from the aerial vantage point. I remember being concerned about the mud and standing water in

the enclosure with Scottish Highlander Cattle. I was also concerned about the size of the

enclosures, which appeared to be fairly small for a zoo, as well as the absence of any indoor

barns for several of the animals who were housed outside in the snow. I did not know what other

animals were housed there, but I immediately wanted to visit. When Lisa asked me if I would

visit the Zoo with her when it opened, I said yes. Frankly, I wanted to see for myself what the

Zoo looked like in person.

       3.      Lisa, Nancy, and I met in Ames, Iowa the morning of June 21, 2012, and travelled

to the Cricket Hollow Zoo together. When we arrived at the Zoo, it was a hot day but no hotter

than 85 degrees Fahrenheit. The first thing I noticed was the generally filthy conditions of the

premises and the piles of junk distributed about the place. I recall being concerned about the fact




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that the Zoo was on the same property as a dairy farm, as evidenced by a sign in front of the

property that said “AMPI,” which I knew to be a dairy cooperative. I could hear the cattle in the

dairy barn, which was just a few yards away from the zoo animals. To be honest, I drink dairy

products and was very concerned about the presence of bacteria and pathogens from exotic

animals in milk stored so close in proximity to the zoo animals. I was also concerned about the

effect flies, filth, and garbage would have on dairy milk.

       4.       As I walked through Cricket Hollow Zoo, I noticed the bird and reptile area. I

was disgusted and appalled by the filth and the excessive piles of excrement in the cages. The

rabbits and chinchilla appeared to have completely lost their spirits. While I was there, none of

them moved or even looked in the direction of zoo patrons. I left the reptile building and

observed two people who were feeding a dog food like substance to a bear through a PVC pipe

that entered its corncrib enclosure. The bear was just lying on the ground and did not move; on

occasion, I saw the bear paw at the food, but the bear was clearly not interested in the food.

There was no other form of entertainment for the bear in the cage besides this feeding pipe.

Watching the bear is such a depressed state began to sour my own mood. I felt sad for the bear

and wanted to help it, but I did not know what I could do. I’m not an expert in bear behavior, so I

have no idea how to help the bears at the Cricket Hollow Zoo, but I know that the way they are

living now is cruel and inhumane.

       5.      In addition to the bears, I observed two dogs in a tiny enclosure, with badly

matted, filthy fur, who only had moldy food available to them and who I observed to be suffering

in the heat. One dog didn’t move the entire time I was at the Zoo; I remember because I checked

on him several times. Another dog was panting and pacing back and forth, in obvious distress. I

also heard the Scottish Highlander Cattle crying out. My friend Nancy Harvey and I looked over




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and noticed they had no water available to them, and they were standing in the hot sun without

any shade. Nancy left to ask the owner for help giving the cattle water.

        6.     I left the dogs and cattle and moved on to the big cat enclosures. There, I saw a

lion who was very thin and frail looking. The lion was housed in a wire enclosure with no access

to an indoor barn. If the lion remained there during the winter, it would surely freeze to death, I

thought. The lion was covered in flies, and its eyes were barely open. I wondered if it couldn’t

open its eyes out of fear of being bitten. As I was standing there, my friend Nancy Harvey

walked up, and we both saw the lion vomit in front of us. I found the condition of this lion very

upsetting. For a long time, I kept thinking about what I had witnessed at the Zoo and had trouble

shaking the feeling that I had failed somehow. I wasn’t sure what I could do to help the animals,

so I tried calling the Delaware County Sheriff’s Office and asking for an animal welfare check. I

told the dispatcher that I was at the Zoo, that the weather was extremely hot, that many of the

animals did not have water, and I was very concerned about their health and welfare. I thought if

I couldn’t do something, maybe the Sheriff’s Office could, but I never received a phone call

back.

        7.     Over the next several months, I called the Sheriff’s Office two more times in

order to request a welfare check. I asked for a report back, but the Sheriff’s Office never called. I

also filed a complaint with the United States Department of Agriculture (USDA) about the heat

and lack of water that I observed on my visit to the Cricket Hollow Zoo. I followed up on the

complaint, but the USDA simply said it was “under investigation.” I also visited the Iowa

Department of Agriculture and Land Survey’s veterinarian, but he seemed uninterested in my

concerns and never did anything about them.




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       8.      For most of my adult life, I have committed my free time to advocating on behalf

of displaced companion animals. I never knew that exotic animals like the tigers, lions, lemurs,

wolves, and serval at the Cricket Hollow Zoo were also suffering. After I left the Cricket Hollow

Zoo, I vowed to never return until I know I could visit the animals in humane conditions. I did

not want to witness crying cattle or a vomiting lion ever again. To be sure, I never want to

witness any animal suffering the way the animals at the Cricket Hollow Zoo suffer. I can

honestly say the light was gone from the eyes of every animal I saw at the Cricket Hollow Zoo

during my visit. They are trapped in a prison of filth, stench, and misery—twenty-four hours a

day; 365 days a year; year after year; enduring the rain, heat, bitter cold, snow, and sleet. They

are forced to bear all the miseries of weather Iowa has to offer. There is no hope, and there is no

joy for these beautiful creatures that deserve so much more. Since June 21, 2012, there isn’t a

day that goes by I don’t think about all the animals there and grieve for them. I feel like the

animals are suffering immensely in my absence, but I simply cannot face them again. I feel

helpless, and truthfully like a coward because maybe my presence would help the animals in

some way. I want to see the animals living happy, healthy lives in improved conditions, and if

their condition improved, whether on-site or through relocation, I would absolutely revisit them.

       9.      I would definitely travel to visit these animals if they were moved from the

Cricket Hollow Zoo to appropriate environments for their species with adequate environmental

enhancements to keep them from boredom, and healthful food and water available. This would

reduce my stress and worry over the condition of the animals at the Cricket Hollow Zoo

significantly, and I would be very pleased to observe these animals living in humane conditions

so that I knew they were going to be all right.


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       Pursuant to 28 U.S.C.1746, I certify under penalty of perjury that the preceding is true

and correct. I authorize electronic signature of this declaration and provide Plaintiffs’ counsel

with my original signature page.


                                                      /s/ Kristine Bell
                                                      Kristine Bell


Executed on this 1st day of June, 2015.




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